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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON


MARVIN BAILEY,

           Movant

v.                                          CIVIL ACTION NO. 2:07-0321
                                            (Criminal No. 2:96-00191-03)

UNITED STATES OF AMERICA,

           Respondent



                      MEMORANDUM OPINION AND ORDER


           The court having received the proposed findings and

recommendation of the United States Magistrate Judge filed on

August 12, 2008, pursuant to the provisions of 28 U.S.C.

§ 636(b)(1)(B); and having reviewed the record in this

proceeding; and there being non-meritorious objections filed by

the movant to the proposed findings and recommendation that

recommends dismissal of movant’s section 2255 motion as an

unauthorized successive petition, which movant fails to address1;

and it appearing proper so to do, it is ORDERED that the findings

and conclusions made in the proposed findings and recommendation



     1
      Movant previously sought an extension of time within which
to file his objections. The court ORDERS that the request be,
and it hereby is, granted to September 16, 2008, the date of the
filing of the objections. The objections are deemed timely.
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of the magistrate judge be, and they hereby are, adopted by the

court.


           It is, accordingly, ORDERED that the movant's section

2255 motion, as construed, be, and it hereby is, denied.               It is

further ORDERED that this action be, and it hereby is, dismissed.


           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

magistrate judge.

                                         DATED: September 19, 2008



                                         John T. Copenhaver, Jr.
                                         United States District Judge
